8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 1 of 23 - Page ID # 1
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 2 of 23 - Page ID # 2
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 3 of 23 - Page ID # 3
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 4 of 23 - Page ID # 4
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 5 of 23 - Page ID # 5
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 6 of 23 - Page ID # 6
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 7 of 23 - Page ID # 7
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 8 of 23 - Page ID # 8
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 9 of 23 - Page ID # 9
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 10 of 23 - Page ID # 10
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 11 of 23 - Page ID # 11
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 12 of 23 - Page ID # 12
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 13 of 23 - Page ID # 13
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 14 of 23 - Page ID # 14
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 15 of 23 - Page ID # 15
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 16 of 23 - Page ID # 16
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 17 of 23 - Page ID # 17
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 18 of 23 - Page ID # 18
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 19 of 23 - Page ID # 19
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 20 of 23 - Page ID # 20
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 21 of 23 - Page ID # 21
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 22 of 23 - Page ID # 22
8:13-cv-00140-LSC-FG3 Doc # 1 Filed: 04/29/13 Page 23 of 23 - Page ID # 23
